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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                            No. 02 CR 200-22
              v.
                                            Judge Rebecca R. Pallmeyer
 ANDRE LAWRENCE

               GOVERNMENT’S RESPONSE TO DEFENDANT’S
                    SENTENCE REDUCTION MOTION
               UNDER SECTION 404 OF THE FIRST STEP ACT

      Defendant was convicted of a drug offense that the court found involved 280

grams or more of cocaine base, which, even after the enactment of the Fair Sentencing

Act, would subject him to the same statutory penalties as when he was re-sentenced

in 2010. Because there is no change in the statutory penalties, defendant is ineligible

for relief under the First Step Act.

      Background

      A.     Jury Verdict

      On December 18, 2003, a jury found defendant guilty of conspiracy to distribute

and possess with intent to distribute controlled substances, namely cocaine and

cocaine base in the form of crack cocaine, in violation of 21 U.S.C. § 846 (Count One),

and of possessing a firearm in furtherance of a drug trafficking crime, in violation of

18 U.S.C. § 924(c) (Count Thirty-Nine). The jury further found that the amount of

controlled substances involved in the conspiracy was 50 grams or more of cocaine

base, and 500 grams or more, but less than five kilograms of cocaine. R667. Pursuant
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to Apprendi v. New Jersey, 530 U.S. 466 (2000), the jury’s verdict set the statutory

maximum penalty for Count One at life imprisonment.

      The government had provided timely notice under 21 U.S.C. § 851 of its

intention to seek enhanced penalties under 21 U.S.C. § 841(b)(1)(A) because the

defendant had committed the instant offense after a prior conviction for a felony drug

offense had become final. R.47.

      B.     Original Sentencing Hearing

      The sentencing hearing was held on September 21, 2005, during which the

Court considered the PSR, and determined that “there is actually overwhelming

evidence that more than 1.5 kilograms of crack cocaine was involved.” SentTr at 5.

The Court’s finding set the statutory penalty at 20 years imprisonment, pursuant to

18 U.S.C. § 841(b)(1)(A), and the base offense level at 38, pursuant to USSG §§

2D1.1(a)(3) and (c)(1) (2004). The Court agreed with the PSR, which found that a two

level increase in the offense level was appropriate because the crack cocaine was sold

within 1000 feet of a public elementary school, and that defendant’s total adjusted

offense level was Level 40. PSR at 166-167, 179. Although later determined to be in

error, the PSR, which the Court adopted, placed defendant in criminal history

category III, resulting in a sentencing range of 360 to Life on Count One, and a

mandatory consecutive term of imprisonment of at least five years (60 months) on

Count Thirty-Nine. SentTr at 65, PSR at 481-484. The Court, however, departed

from the applicable guideline range and sentenced defendant to 300 months’

imprisonment on Count One, and a consecutive sentence of 60 month’s imprisonment



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on Count Thirty-Nine, for a total sentence of 360 months’ imprisonment. R 936.

Defendant’s conviction and sentence were affirmed on appeal. United States v. Andre

Seymour, et al, 519 F.3d 700 (7th Cir. 2008).

      C. Sentence Reduction Motion Pursuant to Amendment 706

      The Court denied defendant’s motion to reduce his sentence pursuant to 18

U.S.C. § 3582(c)(2) based on Amendment 706 to the United States Sentencing

Guidelines, which increased the thresholds for base offense levels applicable to

offenses involving cocaine base. R.1340. Defendant appealed the Court’s denial of his

motion, but the Seventh Circuit Court of Appeals summarily affirmed the judgment

of the Court. United States v. Lawrence, 09-1431 (7th Cir. April 21, 2009). In that

order, the Court of Appeals stated:

      On direct appeal, this court commented that the conspiracy with which he was
      involved lasted a minimum of three years and there was substantial evidence
      that the conspiracy distributed 1.5 kilograms of crack cocaine in less than three
      days (emphasis in original). United States v. Seymour, 519 F.3d 700, 708 (7th
      Cir. 2008). The district court denied Lawrence’s motion to reduce his sentence
      pursuant to 18 U.S.C. §3582(c)(2) on the ground that he was responsible for
      well in excess of 4.5 kilograms of crack cocaine. Based on a review of the
      district court’s order and the record on appeal, we have concluded that further
      briefing would not assist the court.


      D. Defendant’s Successful § 2255 Petition and Subsequent Re-
         Sentencing Hearing

      On May 5, 2010, the Court granted defendant’s § 2255 petition, finding that

defendant received ineffective assistance of counsel because his attorney failed to

challenge the criminal history category and that, as a result, defendant was

prejudiced because the applicable sentencing guidelines range was greater than it



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should have been if the criminal history category was properly set at Category I.

R.1431.   The Court vacated defendant’s sentence and ordered a re-sentencing

hearing, which took place on July 9, 2010, less than one month before the Fair

Sentencing Act of 2010 was enacted. R.1473. The Court applied the base offense level

38, consistent with its prior denial of the § 3582(c)(2) motion, because the offense

involved 4.5 kilograms or more of cocaine base, pursuant to USSG §§ 2D1.1(a)(5) and

(c)(1) (2009). It then added the two level increase in the offense level because the

crack cocaine was sold within 1000 feet of a public elementary school. Therefore, the

total adjusted offense level was Level 40. Consistent with its decision to grant

defendant’s § 2255 petition, the Court found that he was in a Criminal History

Category I, and determined that the applicable Sentencing Guidelines range was 292

to 365 months’ imprisonment. See Statement of Reasons attached to the Amended

J&C. Furthermore, just as it did at the original sentencing hearing, the Court

departed from the applicable guidelines range and sentenced him to 252 months on

Count One, and a consecutive 60 months’ sentence of imprisonment on Count Thirty-

Nine, for a total of 312 months’ imprisonment. R.1473.

      E. Subsequent Motions Pursuant to §3582(c)(2)

      Defendant filed motions pursuant to 18 U.S.C. § 3582(c)(2) for sentence

reductions due to amendments to the sentencing guidelines. R.1556, 1695. This

Court denied defendant’s motion for a reduction based on Amendment 750, which

increased the threshold for the highest base offense level for drug offenses from 4.5

kilograms to 8.4. kilograms or more of cocaine base. In making its ruling, the Court



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stated that “there is no basis to dispute that Mr. Lawrence did understand the

massive scale of the conspiracy” and that “given that understanding, and the length

of Mr. Lawrence’s involvement with the conspiracy, the court concludes, based on a

preponderance of all of the evidence, that it was reasonably foreseeable to Mr.

Lawrence that at least 8.4 kilograms was involved.” R.1631, 1632.

      This Court granted defendant’s motion for a reduction based on Amendment

782, which increased the threshold for the highest base offense level for drug offenses

from 8.4 kilograms to 25.2 kilograms or more of cocaine base. The Court stated that

“it agrees with defense counsel that the record is insufficient to permit a new finding

as to the drug quantity attributable to Mr. Lawrence” and reduced his sentence on

Count One to the statutory minimum of 240 months, which when added to the

mandatory 60 consecutive months on Count 39 yields a total term of imprisonment

of 300 months. R.1791.

      First Step Act of 2018

      On December 21, 2008, the President of the United States signed the First Step

Act into law. Section 404 of the First Step Act makes retroactive portions of the Fair

Sentencing Act of 2010 (“FSA”), which raised threshold drug quantities for enhanced

penalties for cocaine base offenses under 21 U.S.C. §841(b)(1) and (2) (2010).

Therefore, for those sentenced on or after August 3, 2010 when FSA became law, the

statutory penalties for offenses involving 280 grams or more of cocaine base was 10

years’ to life imprisonment, or, if a person commits such a violation after a prior

conviction for a felony drug offense has become final, 20 years’ to life imprisonment.



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See 21 U.S.C. § 841(b)(1)(A) (2010).      These were the same statutory penalties

defendant faced for Count One when he was re-sentenced in 2010.

      Argument

      Defendant is ineligible for a sentence reduction under Section 404 of the First

Step Act because the court’s drug quantity findings supported the same statutory

penalties before and after FSA was enacted. At the time defendant was re-sentenced

in 2010, the sentencing court’s drug quantity findings not only set the base offense

level under the United States Sentencing Guidelines, but also set the statutory

minimum penalties, as authorized by Harris v. United States, 536 U.S. 545 (2002).

The decision in Alleyne v. United States, 570 U.S. 99 (2013) that set forth the

requirement that statutory minimum penalties must be made by jury findings was

not decided until nearly three years after the defendant was sentence in this case and

does not apply retroactively to him. See Crayton v. United States, 799 F.3d 623, 624

(7th Cir 2015). Regardless of which judicial finding is considered - whether it was

the court’s finding during the original sentencing hearing in 2005 that the offense

involved 1.5 kilograms or more of cocaine base (R.936); the court’s finding during the

re-sentencing hearing in 2010 that the offense involved 4.5 kilograms or more of

cocaine base (R.1473); or this Court’s denial of defendant’s § 3582(c)(2) motion in 2013

because the offense involved 8.4 kilograms or more of cocaine base (R.1631) – the

quantity of cocaine base involved in this offense was significantly more than 280

grams. Therefore, the statutory penalties both before and after the FSA remain the

same, and the First Step Act offers defendant no basis for relief.



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      For these reasons, the government respectfully requests that the Court deny

defendant’s motion for a sentence reduction under Section 404 of the First Step Act.


                                          Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      The undersigned Assistant United States Attorney hereby certifies that in
accordance with Fed. R. Crim. P. 49, Fed. R. Crim. P. 5, LR 5.5, and the General
Order on Electronic Case Filing (ECF), the following document:

                  GOVERNMENT’S RESPONSE TO DEFENDANT’S
                       SENTENCE REDUCTION MOTION
                  UNDER SECTION 404 OF THE FIRST STEP ACT

was served pursuant to the district court=s ECF system as to ECF filers, if any, on
Friday, March 29, 2019.


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